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                      IN THE UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI


 In re:
                                                            Case 21-40834-drd
 INTERSTATE UNDERGROUND WAREHOUSE                           Chapter 11
 AND INDUSTRIAL PARK, INC.
                         Debtor.



                 ORDER SUSTAINING OBJECTION TO PROOF OF CLAIM
                  #11 FILED BY ADAM N. LEON dba LION’S PLUMBING

          The Court takes up the Creditor Adam N. Leon dba Lion’s Plumbing Proof of Claim #11,

filed on August 26, 2021, and the Debtor Interstate Underground Warehouse and Industrial Park,

Inc.’s Objection (Doc. #322) filed on January 31, 2022.

          The Court finds that the Creditor Adam N. Leon dba Lion’s Plumbing did not file a

timely response to the Debtor’s Objection.

          The Court finds that the Debtor agrees to a portion of Adam N. Leon dba Lion’s

Plumbing’s Proof of Claim #11. Adam N. Leon dba Lion’s Plumbing shall have an unsecured

non-priority claim in the amount of $8,585.41. This amount is for work performed on June 2,

2019. The remainder of the claim in the amount of $12,300.00 is disallowed, as this amount is

for work that was either not authorized or not performed.

          IT IS HEREBY ORDERED that the Claim of Creditor Adam N. Leon dba Lion’s

Plumbing shall be allowed as a general unsecured non-priority claim in the amount of $8,585.41

and shall be disallowed as to the balance of $12,300.00.
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Dated: March 22, 2022                  /s/ Dennis R. Dow
                                       Honorable, Dennis R. Dow
                                       UNITED STATES BANKRUPTCY JUDGE

Submitted by:
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